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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   :
 In re:                                                            :   Chapter 11
                                                                   :
 WOODBRIDGE GROUP OF COMPANIES, LLC,                               :   Case No. 17-12560 (JKS)
 et al.,1                                                          :
                                                                   :   (Jointly Administered)
                            Remaining Debtors.                     :
                                                                   :   Ref. Docket No. 4881

                                       CERTIFICATE OF SERVICE

I, ANDREA SPEELMAN, hereby certify that:

1. I am employed as a Case Manager by Epiq Class Action and Claims Solutions, Inc., with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the age
   of eighteen years and am not a party to the above-captioned action.

2. I caused to be served the “Liquidation Trust’s Motion for Entry of an Order Extending the
   Duration of the Liquidation Trust,” dated December 1, 2023 [Docket No. 4881], by causing
   true and correct copies to be:

     a. delivered via electronic mail to those parties listed on the annexed Exhibit A on
        December 1, 2023, and

     b. enclosed securely in a postage pre-paid envelope and delivered via first class mail to the
        party listed on the annexed Exhibit B on December 4, 2023.

3. The envelope utilized in the service of the foregoing contained the following legend: LEGAL
   DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF ADDRESSEE,
   PRESIDENT OR LEGAL DEPARTMENT.

                                                                                  /s/ Andrea Speelman
                                                                                  Andrea Speelman




1 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
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     WOODBRIDGE GROUP OF COMPANIES, LLC, et al. , Case No. 17-12560 (JKS)
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                    EXHIBIT B
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             WOODBRIDGE GROUP OF COMPANIES, LLC, et al.
                         Case No. 17-12560 (JKS)
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